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UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MARYLAND

ROBERT WINNER, et al., CONSENT ORDER GRANTING
Plaintiffs, SUBSTITUTION OF ATTORNEY
V.
CASE NUMBER: 1:20-cv-03420-ELH
KELCO FEDERAL CREDIT UNION
Defendant,
Notice is hereby given that, subject to approval by the court, KELCO FEDERAL
CREDIT UNION substitutes RAMON ROZAS III, ESQ.. Trial Bar No. 25481 as counsel
of record in place of T. LEE BEEMAN, ESQ.

Contact information for new counsel is as follows:

Firm Name: ROZAS LAW OFFICE, LLC

Address: 103 S. Centre Street, Cumberland, MD 21502
Telephone: 301-759-1304 Facsimile (301) 759-4063
E-Mail: rrozas(@rozaslawotfice.com

 

I consent to the above substitution:

Date: asa (3) Pitrvtochosry Coo) L, ve

(Signature of Party(s)

I consent to being substituted.

Date: | les fey 2s SS

(Signature of Former Attorney (s)

I consent to the above substitution:
hep: OO
Date: \ 8 4
q

The substitution of attorney is hereby approved and so ORDERED.

 

 

 

 

Date:

 

Judge
